     Case 3:16-cv-00323 Document 57 Filed in TXSD on 06/12/18 Page 1 of 1


UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
Jing Gao, et al.,                          §                                     June 12, 2018
                                           §                                  David J. Bradley, Clerk
versus                                     §               Civil Action 3:16−cv−00323
                                           §
Blue Ridge Landfill TX, LP.                §

                           Order Resetting Conference

1.    The pretrial conference has been reset to:

                                  September 18, 2018
                                     at 10:30 AM

2.    To ensure full notice, whoever receives this notice must confirm that every other
      party knows of the setting.

      Signed on June 12, 2018, at Houston, Texas.
